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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 ANDREW MOBUS,
          Plaintiff,

        v.                             C.A. No. 1:17-cv-11011-GAO

 BARD COLLEGE,
          Defendant.


  EMERGENCY MOTION SEEKING RECONSIDERATION AND AMENDMENT OF
                      PROCEDURAL ORDER

       Pursuant to the Procedural Order entered on November 25, 2019, the Court set January

13, 2020 as the date for commencing the trial of matter and directed the parties to appear for a

final pretrial conference on December 16, 2019 (the “Procedural Order”). Pursuant to Local

Rule 40.3, the parties respectfully ask the Court to reconsider and amend the schedule set forth in

the Procedural Order in light of the following facts:

       1.      On October 5, 2018, the Parties submitted to the Court a Joint Proposal for

Scheduling Expert Discovery and Dispositive Motions (ECF No. 87) (the “Joint Proposal”),

which contemplated the deferral of expert damage discovery until after adjudication of the

parties’ cross-motions for summary judgment. In the absence of any ruling by the Court on that

Joint Proposal, the Parties proceeded in accordance with their agreement.

       2.      On September 27, 2019, this Court denied Plaintiff’s Motion for Partial Summary

Judgment and Defendant’s Motion for Summary Judgment on Plaintiff’s Claims (ECF No. 197).

       3.      Following the Court’s September 27, 2019 Order, counsel for the Parties

conferred and agreed on a schedule for the completion of discovery related to damages experts.

Taking into consideration the complexity of the matter and the need to coordinate the schedules
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of multiple experts, including around the holidays, the Parties recently agreed on following

deadlines, for which they now seek the Court’s approval:

               Disclosure/Reports of Plaintiff’s Damages Experts               November 29, 2019

               Disclosure/Reports of Defendant’s Rebuttal Experts              January 29, 2020

               Completion of all Expert Depositions                            March 6, 2020

       4.      The Parties are working cooperatively and diligently to meet these proposed

deadlines. Plaintiff has identified two damages experts and expects to produce their reports to

Defendant on or before November 29, 2019. Defendant is in the process of identifying rebuttal

expert witnesses, which will depend in part on an evaluation of the opinions proffered by

Plaintiff’s experts. In accordance with that proposed schedule, Defendant expects to produce its

rebuttal expert reports on or before January 29, 2019.

       5.      In addition to damages experts, Plaintiff and Defendant each have disclosed

expert witnesses on issues related to liability, and they have exchanged the reports for those

experts. After consulting with these witnesses as to their availability, the Parties have scheduled

their depositions on January 29, 2020 (in Boston) and February 11, 2010 (in Los Angeles).

       6.       Because the dates which the Parties contemplated regarding the completion of

expert discovery are irreconcilable with the Court’s Procedural Order issued yesterday, and the

Parties respectfully request some modification in the schedule set forth therein. Pursuant to

Local Rule 40.3, the need to complete expert discovery constitutes good cause to amend the

Procedural Order, and the Parties respectfully request that the Court do so.

       7.      The Court has scheduled a pretrial hearing in this case on December 16, 2019 at

2:00 p.m. The Parties respectfully suggest that the Court instead use that time to hold a status

conference to discuss pretrial deadlines and a trial date.



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         8.     This is the first request for a continuance by the Parties. The Parties do not

anticipate requesting any further continuances of trial. This continuance will not prejudice any

party.

         WHEREFORE, for the reasons stated above, the Parties respectfully request that the

Court (1) continue the trial currently scheduled for January 13, 2020 and (2) schedule a status

conference on December 16, 2019 at 2:00 pm in order to set pretrial deadlines and a trial date.

Respectfully submitted,

 ANDREW MOBUS,                                        BARD COLLEGE
 By his attorneys,                                    By its attorneys,


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November 26, 2019

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                                CERTIFICATE OF SERVICE
        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing and
paper copies will be sent to those indicated as non-registered participants on November 26, 2019.



                                             /s/ Arielle B. Kristan
                                             Arielle B. Kristan




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